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 8                             UNITED STATES DISTRICT COURT
 9                           SOUTHERN DISTRICT OF CALIFORNIA
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11    TANYA SUAREZ, Individually,                          Case No.: 3:20-cv-00456-WQH-BGS

12                                        Plaintiff,
                                                           ORDER
13    v.

14    COUNTY OF SAN DIEGO;
      SHANNON KEENE, Registered
15    Nurse; and DOES 1-10, inclusive,
16                                     Defendants.
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      HAYES, Judge:
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            The matter pending before the Court is the Motion for Leave to Amend the Complaint
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      filed by Plaintiff Tanya Suarez. (ECF No. 10).
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                                  PROCEDURAL BACKGROUND
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            On March 10, 2020, Plaintiff Tanya Suarez initiated this action by filing a civil rights
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      Complaint pursuant to 42 U.S.C. § 1983 against Defendants County of San Diego
23
      (“County”), Shannon Keene, and DOE deputies. (ECF No. 1). Plaintiff alleged that she
24
      “is now permanently blind” as a result of “Defendants’ callous and indifferent behavior . .
25
      . .” Id. at 4. Plaintiff brought the following four causes of action: (1) violation of the 14th
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      Amendment against Defendants Keene and DOE deputies; (2) violation of the 14th
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      Amendment against Defendant County; (3) negligence against all Defendants; and (4)
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 1    intentional infliction of emotional distress (“IIED”) against all Defendants. See id. at 7-
 2    19. Plaintiff sought compensatory, general, special, punitive and exemplary damages;
 3    costs and attorney’s fees; and “any further relief that the Court may deem appropriate.” Id.
 4    at 20.
 5             On April 27, 2020, Defendants Keene and County filed a Motion to Dismiss
 6    Plaintiff’s Complaint for failure to state a claim upon which relief can be granted pursuant
 7    to Federal Rule of Civil Procedure 12(b)(6) and a Motion to Strike the exhibits attached to
 8    Plaintiff’s Complaint as immaterial and impertinent pursuant to Federal Rule of Civil
 9    Procedure 12(f). (ECF No. 4). On June 25, 2020, the Court issued an Order granting the
10    Motion to Dismiss filed by Defendants Keene and County and denying as moot the Motion
11    to Strike filed by Defendants Keene and County. (ECF No. 9). The Court stated that “[a]ny
12    motion for leave to file an amended pleading must be filed within 30 days of this Order.”
13    Id. at 14.
14             On July 24, 2020, Plaintiff filed a Motion for Leave to Amend the Complaint. (ECF
15    No. 10).      On August 17, 2020, Defendants Keene and County filed a Response in
16    opposition. (ECF No. 11). On August 24, 2020, Plaintiff filed a Reply. (ECF No. 12).
17                                       LEGAL STANDARD
18             Federal Rule of Civil Procedure 15 states that courts “should freely give leave [to
19    amend] when justice so requires.” Fed. R. Civ. P. 15(a)(2). “This policy is ‘to be applied
20    with extreme liberality.’” Eminence Capital, LLC v. Aspeon, Inc., 316 F.3d 1048, 1051
21    (9th Cir. 2003) (quoting Owens v. Kaiser Found. Health Plan, Inc., 244 F.3d 708, 712 (9th
22    Cir. 2001)). The Supreme Court has identified several factors courts should consider when
23    deciding whether to grant leave to amend “such as undue delay, bad faith or dilatory motive
24    on the part of the movant, repeated failure to cure deficiencies by amendments previously
25    allowed, undue prejudice to the opposing party by virtue of allowance of the amendment,
26    [and] futility of amendment . . . .” Foman v. Davis, 371 U.S. 178, 182 (1962). “Not all of
27    the [Foman] factors merit equal weight. As this circuit and others have held, it is the
28    consideration of prejudice to the opposing party that carries the greatest weight.” Eminence

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 1    Capital, 316 F.3d at 1052 (citing DCD Programs, Ltd. v. Leighton, 833 F.2d 183, 185 (9th
 2    Cir. 1987)). “The party opposing amendment bears the burden of showing prejudice.”
 3    DCD Programs, 833 F.2d at 187. “Absent prejudice, or a strong showing of any of the
 4    remaining Foman factors, there exists a presumption under Rule 15(a) in favor of granting
 5    leave to amend.” Eminence Capital, 316 F.3d at 1052.
 6                                  RULING OF THE COURT
 7          Plaintiff seeks to “clarify[y] the proper obligations and responsibilities of
 8    Defendant[s] Keene and DOE Deputies” and “does not seek to add new parties or new
 9    claims.” (ECF No. 10-1 at 2). Defendants Keene and County contend that Plaintiff’s
10    “leave to amend should be denied as futile” “[b]ecause Plaintiff’s proposed amended
11    pleading would also be subject to dismissal . . . .” (ECF No. 11 at 2). Defendants Keene
12    and County contend that Plaintiff’s proposed amendments fail to state:
13          1) A cognizable Fourteenth Amendment claim against the only individual
               defendant because they do not allege facts sufficient to show her deliberate
14
               indifference;
15
            2) A municipal liability claim against the County of San Diego premised on
16
               any unlawful policy or well-settled custom; nor
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            3) Viable causes of action under state law due to Plaintiff’s non-compliance
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               with California’s pre-litigation tort claim requirements.
19    Id.
20          The Court will defer consideration of any challenge to the merits of the proposed
21    amended complaint until after the amended pleading is filed. See e.g., Human Longevity,
22    Inc. v. J. Craig Venter Inst., Inc., No. 18cv1656-WQH-LL, 2019 WL 460389, at *1 (S.D.
23    Cal. Feb. 6, 2019) (same); In re Packaged Seafood Prod. Antitrust Litig., 338 F. Supp. 3d
24    1079, 1106-07 (S.D. Cal. 2018) (“Courts ordinarily do not consider the validity of a
25    proposed amended pleading in deciding whether to grant leave to amend, and instead defer
26    consideration of challenges to the merits of a proposed amendment until after leave to
27    amend is granted and the amended pleadings are filed.”).
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 1          The Court finds that Defendants Keene and County have failed to make a “strong
 2    showing of any of the [ ] Foman factors” to warrant deviation from the “presumption under
 3    Rule 15(a) in favor of granting leave to amend.” Eminence Capital, 316 F.3d at 1052. The
 4    Motion for Leave to Amend the Complaint filed by Plaintiff Tanya Suarez (ECF No. 10)
 5    is GRANTED. Plaintiff Tanya Suarez may file an Amended Complaint within thirty (30)
 6    days of the entry of this Order.
 7     Dated: August 31, 2020
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